 Case 2:13-cv-02565-SHM-tmp Document 1 Filed 07/25/13 Page 1 of 5                   PageID 1



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

TENALOK PARTNERS, LTD.                                CIVIL ACTION NO.

VERSUS                                                MAGISTRATE JUDGE

MASSACHUSETTS BAY INSURANCE
COMPANY


                                  NOTICE OF REMOVAL

         NOW INTO COURT, through undersigned counsel, comes defendant, Massachusetts

Bay Insurance Company (hereinafter “Mass Bay”), which pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, and with a full reservation of rights and defenses, hereby removes the action styled

“Tenalok Partners Ltd. v. Massachusetts Bay Insurance Company,” No. CT-002684-13, Div. III,

from the Circuit Court of Shelby County, Tennessee for the Thirtieth Judicial District at

Memphis to the Western District of Tennessee, Western Division. This Court has subject matter

jurisdiction over the claims of Plaintiff, Tenalok Partners Ltd. (“Plaintiff”) under 28 U.S.C.

§ 1332 as the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs,

and is properly between citizens of different states. Mass Bay respectfully submits that the

grounds for removal are as follows:

                        THE NOTICE OF REMOVAL IS TIMELY

                                               1.

         Plaintiff filed a Complaint (the “Complaint”) entitled “Tenalok Partners Ltd. v.

Massachusetts Bay Insurance Company,” No. CT-002684-13, Div. III on June 24, 2013, in the

Circuit Court of Shelby County, Tennessee for the Thirtieth Judicial District at Memphis, which

is within the Western District of Tennessee, Western Division.




                                               1
PD.9976425.1
 Case 2:13-cv-02565-SHM-tmp Document 1 Filed 07/25/13 Page 2 of 5                      PageID 2



                                                 2.

         Mass Bay was served with process through the Tennessee Department of Commerce and

Insurance on July 1, 2013.

                                                 3.

         This Notice of Removal is being filed within thirty (30) days after Mass Bay was served

with Plaintiff’s Complaint and less than one (1) year after the commencement of the action.

Additionally, there is no other defendant in this action. Accordingly, the Notice of Removal is

timely pursuant to 28 U.S.C. § 1446(b).

                 THE PARTIES ARE CITIZENS OF DIFFERENT STATES

                                                 4.

         Upon information and belief, at the time Plaintiff filed its Complaint and Mass Bay filed

its Notice of Removal, Plaintiff was and is a domestic limited partnership organized under the

laws of Texas. Plaintiff’s general partner is Tenalok Corp., a domestic corporation incorporated

under Texas law with its principal place of business in Texas.



                                                 5.

         At the time Plaintiff filed its Complaint and Mass Bay filed its Notice of Removal, Mass

Bay was and still is a New Hampshire corporation with its principal place of business in

Massachusetts.

                                                 6.

         Accordingly, there is complete diversity of citizenship between Plaintiff and Mass Bay.




                                                 2
PD.9976425.1
 Case 2:13-cv-02565-SHM-tmp Document 1 Filed 07/25/13 Page 3 of 5                     PageID 3



       THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00, EXCLUSIVE OF
                         INTEREST AND COSTS

                                                7.

         The Complaint seeks coverage under Mass Bay policy number ZDA 8903289-00 (the

“Policy”) for physical loss and damage to the alleged insured premises and continued damages

associated with the repair of the physical damage to the alleged insured premises.

                                                8.

         Although a specific amount in controversy is not alleged in the Complaint, the Policy at

issue carries coverage limits of $8,480,000, $4,930,000, and $1,820,000 for property coverage

with regard to each of the alleged insured premises at issue in this suit, which alone satisfy the

jurisdictional minimum. Additionally, Plaintiff seeks compensatory damages up to $3,000,000.

                                        JURISDICTION

                                                9.

         The above-described action is one over which this Honorable Court has original

jurisdiction pursuant to 28 U.S.C. § 1332, as the controversy is wholly between citizens of

different states and the amount in controversy exceeds the sum of $75,000, exclusive of interest

and costs. Therefore, in accord with 28 U.S.C. § 1441, this case may be removed to the United

States District Court for the Western District of Tennessee, Western Division.

                                               10.

         Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders which have

been served on Mass Bay are hereby attached to this Notice of Removal, along with the entirety

of the State Court records. See Exhibit A.




                                                3
PD.9976425.1
 Case 2:13-cv-02565-SHM-tmp Document 1 Filed 07/25/13 Page 4 of 5                      PageID 4



                                                11.

         Concurrent with the filing of this Notice of Removal, written notice is being given to all

parties, and a copy of this Notice of Removal is being filed with the Clerk of Court for the

Circuit Court of Shelby County, Tennessee for the Thirtieth Judicial District at Memphis.

         WHEREFORE, defendant, The Massachusetts Bay Insurance Company, prays that this,

its Notice of Removal, be deemed good and sufficient and that his aforesaid Complaint be

removed from the Circuit Court of Shelby County, Tennessee, for the Thirtieth Judicial District

at Memphis and that this Honorable Court enter such orders and issue such process as may be

proper to bring before it copies of all records and pleadings in such civil action from such state

court, and thereupon proceed with the civil action as if it had been commenced originally in this

Honorable Court.

                                              Respectfully submitted,

                                              DICKINSON WRIGHT PLLC



                                              BY:      /s/ John E. Anderson, Sr.
                                                      John E. Anderson, Sr., #13698
                                                      424 Church Street, Suite 1401
                                                      Nashville, Tennessee 37219
                                                      Telephone: 615-244-6538


                                              ATTORNEY FOR DEFENDANT THE
                                              MASSACHUSETTS BAY INSURANCE
                                              COMPANY




                                                 4
PD.9976425.1
 Case 2:13-cv-02565-SHM-tmp Document 1 Filed 07/25/13 Page 5 of 5                         PageID 5



                                  CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing was filed on this 25th day of July, 2013 with

the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

all participating counsel of record.




                                                /s/ John E. Anderson, Sr.
                                               John E. Anderson, Sr.
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